             Case 3:19-cv-01051-SI         Document 52             Filed 08/06/21   Page 1 of 12




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    Haywood, Department of Public Safety Systems and Training, Samantha G. Olson, and All Clerks
    of Clackamas County Court and their Associates.




                                IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF OREGON



    RONALD-KENNETH STRASSER,                               Case No. 3:19-cv-01051-SI

                   Plaintiff,                              STATE DEFENDANTS' MOTION TO
                                                           DISMISS PLAINTIFF'S FOURTH
                                                           AMENDED COMPLAINT
           v.

     STATE OF OREGON, by and through
     Governor Kate Brown; Kate Brown, in her
     individual capacity, Shelley Hoffman (STATE
     RISK MANAGER), Eric Machado
     CLACKAMAS COUNTY RISK AND
     SAFETY MANAGER, CLACKAMAS
     COUNTY SHERIFF, Craig Roberts, in his
     individual capacity, CLACKAMAS COUNTY
     SHERIFF, Dave Ellington, in his individual
     capacity, CLACKAMAS COUNTY SHERIFF
     DEPUTY'S; Daniel Joseph O'Keefe, Greg
     Keppler, and Morgan Guthner, in their private
     capacity, CAPTAIN David O’Shaughnessy, in
     his private capacity, SERGEANT Corey R.
     Smith in his private capacity, Katy Coba,
     Department of Administrative Services,
     CLACKAMAS COUNTY CIRCUIT COURT
     OFFICER, JUDGE Robert D. Herndon,
     CLACKAMAS COUNTY CIRCUIT COURT
     OFFICER, JUDGE Jeffery S. Jones,
Page 1 - STATE DEFENDANTS' MOTION TO DISMISS PLAINTIFF'S FOURTH AMENDED
          COMPLAINT
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                                           (971) 673-1880 / Fax: (971) 673-5000
               Case 3:19-cv-01051-SI        Document 52              Filed 08/06/21   Page 2 of 12



     CLACKAMAS COUNTY CIRCUIT COURT
     OFFICER, JUDGE Thomas J. Rastetter,
     Debbie Spradley, TRIAL COURT
     ADMINISTRATOR, CLACKAMAS
     COUNTY DISTRICT ATTORNEY John S.
     Foote, Assistant D.A. Christopher K.
     Haywood, County Administrator Donald
     Krupp, Chief Executive Officer Deputy Laurel
     Butman, Commissioner Ken Humberston,
     Oregon State Sheriffs Association, Pat Garrett,
     2017 OSSA President & Washington County
     Sheriff, Department of Public Safety Systems
     and Training, DPI Security (formerly DePaul
     Security Service), all Clerks of Clackamas
     County Court and their associates, all other
     deputy’s, directly and indirectly involved, and
     John and Jane Does 1 to 100, et al.

                      Defendants,

     Joel Manley, Samantha Olson, Clackamas
     County Sheriff’s Office Professional Standard
     Unit, Lieutenant Ken Boell, Captain Shane
     Strangfield, Detective Dan Smith

                      Respondents.

                                     CERTIFICATE OF CONFERRAL

             Undersigned counsel certifies that in accordance with LR 7-1, he attempted to confer

     with plaintiff by email on July 28, 2021, and by telephone on August 4, 2021, regarding this

     motion, but was unable to ascertain plaintiff’s position regarding the issues presented herein.

                                                    MOTION

             The State of Oregon, Governor Kate Brown, Shelley Hoffman, Katy Coba, Judge Robert

     Herndon, Judge Jeffrey Jones, Judge Thomas Rastetter, Debbie Spradley, John Foote,

     Christopher Heywood (misspelled as “Haywood” in the caption), Samantha Olson, and the

     Department of Public Safety Standards and Training (collectively “State Defendants”), appearing

     specially and without waiver of any defense, including the immunity conferred by the Eleventh

     Amendment to the United States Constitution, respectfully move this Court for an order

     dismissing all of plaintiff’s claims against the State Defendants. Plaintiff fails to allege specific


Page 2 -   STATE DEFENDANTS' MOTION TO DISMISS PLAINTIFF'S FOURTH AMENDED
           COMPLAINT
           43119442                                  Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
               Case 3:19-cv-01051-SI        Document 52              Filed 08/06/21   Page 3 of 12




     facts from which any State Defendant could be held liable on any claim. Fed. R. Civ. P.

     12(b)(6). In addition, the claims against Judge Herndon, Judge Jones, Judge Rastetter, Trial

     Court Administrator Debbie Spradley, District Attorney John Foote, Deputy District Attorney

     Christopher Heywood (misspelled as “Haywood” in the caption), and Deputy District Attorney

     Samantha Olson are all barred by absolute judicial or prosecutorial immunity.

                                            MEMORANDUM OF LAW

     I.      Background

             Plaintiff appears to complain about three separate arrests. First, he alleges, “[a]bout one
     year before the 6 July 2017 beating and kidnapping,” Clackamas County Circuit Court Judge

     Herndon found him guilty of “driving while revoked” without evidence and ordered him to be

     arrested. See FAC ¶ 77-79 (“FIRST KIDNAPPING, WITH NO BEATING”) (capitalization in

     original). Second, several months before July 2017, Clackamas County Circuit Court Judge

     Rastetter held him in contempt because plaintiff “wouldn’t agree to be the Defendant in his

     business” and held him for seven or eight days in jail. FAC ¶¶ 80-84 (“SECOND

     KIDNAPPING, WITH NO BEATING”). Finally, plaintiff was arrested in a courtroom at the

     Clackamas County Circuit Court on July 6, 2017. See FAC ¶ 85-113 (“THIRD KIDNAPPING,

     WITH BEATING”). Plaintiff was present in court that day to be arraigned on a criminal charge.

     Id. ¶¶ 126 (alleging that the July 6, 2017, hearing was the “thirteenth arraignment proceeding on

     that one charge”). Plaintiff alleges that “as a result of [plaintiff]’s not agreeing to be defendant,

     Clackamas County Circuit Court “Jeffery S Jones charged [plaintiff] with “resisting arrest” and

     held him in jail for 58 days. FAC ¶ 96. He alleges that Judge Jones ordered courtroom deputies

     to beat plaintiff by saying “Resist Arrest, Twenty-Five Thousand” on the record. Id. ¶¶ 89, 91,

     96-97. Plaintiff alleges that he was beaten in the courtroom by various individuals, none of them

     identified as state employees. Id. ¶¶ Plaintiff alleges that all charges against him were

     dismissed. Id. ¶ 99. Plaintiff claims that his arrest and beating were the result of a conspiracy

     between the three judges, Debbie Spradley (a trial court administrator), and all the other

Page 3 -   STATE DEFENDANTS' MOTION TO DISMISS PLAINTIFF'S FOURTH AMENDED
           COMPLAINT
           43119442                                  Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
               Case 3:19-cv-01051-SI         Document 52             Filed 08/06/21   Page 4 of 12




     defendants. Id. ¶ 115. Plaintiff claims that the conspiracy arose because the 13 arraignments on

     plaintiff’s criminal charges “failed to ensnare” him, thus forcing the conspirators to use force and

     intimidation to compel plaintiff to “agree to be the Defendant.” Id. ¶¶ 126-128.

             At an unknown time, plaintiff attempted to meet with Defendant Spradley, who refused

     to let him see the “bookkeeping and the accounts” of the Court. Id. ¶ 120. Plaintiff contends

     those accounts would reveal a corrupt financial motive for his arrests “in this system where debt

     is profit and profit is debt.” Id. ¶¶ 121-122.

             Plaintiff filed this action. Now on his Fourth Amended Complaint, plaintiff asserts four
     claims arising under 42 U.S.C. § 1983. Plaintiff now respectfully moves that all claims that

     name any State Defendant be dismissed.

     II.     Legal Standards

             A.       General pleading standards under FRCP 12(b)(6).

             The Court’s review of a motion to dismiss is limited to the face of the Complaint,

     documents attached to the Complaint, documents referenced by the Complaint whose

     authenticity is not disputed, and matters of which the Court may take judicial notice. Swartz v.

     KPMG LLP, 476 F.3d 756, 763 (9th Cir. 2007). The Court construes allegations of a complaint

     in the plaintiff’s favor. Sun Sav. & Loan Ass’n v. Dierdorff, 825 F.2d 187, 191 (9th Cir. 1987).

     A complaint may be dismissed pursuant to Rule 12(b)(6) “for one of two reasons: (1) lack of a

     cognizable legal theory or (2) insufficient facts under a cognizable legal theory.” Robertson v.

     Dean Witter Reynolds, Inc., 749 F.2d 530, 534 (9th Cir. 1984).

             B.       To state claims under 42 U.S.C. § 1983, Plaintiff must plead sufficient specific
                      facts from which the Court could plausibly find that each individual State
                      Defendant directly participated in the deprivation of his rights.
             To state a claim, a complaint must plausibly suggest that the plaintiff is entitled to relief.

     Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009. A claim is plausible when it contains sufficient

     factual content to permit a reasonable inference that the defendant is liable for the misconduct

     alleged. Id. at 678. Requiring plausibility does not require probability, but it does require more
Page 4 - STATE DEFENDANTS' MOTION TO DISMISS PLAINTIFF'S FOURTH AMENDED
          COMPLAINT
           43119442                                  Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
               Case 3:19-cv-01051-SI         Document 52             Filed 08/06/21   Page 5 of 12




     than a mere “possibility that a defendant has acted unlawfully.” Id. (citing Bell Atlantic Corp. v.

     Twombly, 550 U.S. 544, 555 (2007)). Factual content that is merely “consistent with” liability

     “stops short of the line between possibility and plausibility.” Id. The Court is not required to

     accept legal conclusions couched as factual allegations. Id. “Threadbare recitals of the elements

     of a cause of action, supported by mere conclusory statements, do not suffice.” Id. Determining

     whether a complaint states a plausible claim for relief is a “context-specific task,” but where the

     well-pleaded facts do not permit the court to infer more than the mere possibility of misconduct,

     the complaint has not shown that the pleader is entitled to relief as required by Fed. R. Civ. P.
     8(a)(2). Id. at 679.

             To establish individual liability under section 1983, “a plaintiff must plead that each

     Government-official, through the official’s own individual actions, has violated the

     Constitution.” Iqbal, 556 U.S. at 676; Monell v. Dep’t of Soc. Serv’s of City of New York, 436

     U.S. 658, 694 (1978 (no vicarious liability under § 1983). The Complaint must “make clear

     exactly who is alleged to have done what to whom, to provide each individual with fair notice as

     to the basis of the claims against him or her, as distinguished from collective allegations against

     the state.” Robbins v. Oklahoma, 519 F.3d 1242, 1250 (10th Cir. 2008) (emphasis in original);

     Lacey v. Maricopa Cnty., 649 F.3d 1118, 1136 (9th Cir. 2011) (same).

             Even under less stringent pleading standards that the Court may apply to self-represented

     litigants, liberal construction of pleadings does not justify a conclusion that “any document filed

     in a court giving some notice of a claim satisfies the requirements of the Federal Rules.” Classic

     Auto Refinishing v. Marino, 37 F.3d 1354, 1357 (9th Cir. 1994). Complaints filed pro se still

     must allege, with some particularity, specific acts committed by the defendants. Jones v. Cmty.

     Redevelopment Agency, 733 F.2d 646, 649 (9th Cir. 1984). “Vague and conclusory allegations

     of official participation in civil rights violations are not sufficient to withstand a motion to

     dismiss.” Ivey v. Bd of Regents of Univ. of Alaska, 673 F.2d 266, 268 (9th Cir. 1982). Pro se

     complaints must comply with Fed. R. Civ. P. 8(a)(2) and contain “a short and plain statement of

Page 5 -   STATE DEFENDANTS' MOTION TO DISMISS PLAINTIFF'S FOURTH AMENDED
           COMPLAINT
           43119442                                  Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
                Case 3:19-cv-01051-SI        Document 52             Filed 08/06/21   Page 6 of 12




     the claim showing that the pleader is entitled to relief.” Marino, 37 F.3d at 1357.

     III.     Plaintiff’s First and Third Claims Do Not Name Any State Defendant.
              Plaintiff asserts four enumerated claims. In his First Cause of Action (“First Claim”),

     brought under 42 U.S.C. § 1983, he alleges that the “Hands-On Defendants” used unreasonable

     force in arresting him, and that he was subjected to punishment and punitive conditions of

     confinement in violation of the Fourth and Eighth Amendments. Id. ¶¶ 145-146. Plaintiff

     defines the “Hands-On Defendants” as a group of Clackamas County Sheriff Deputies and all

     others “directly . . . involved.” Id. ¶ 17. Plaintiff’s Third Cause of Action (“Third Claim”), also
     under 42 U.S.C. § 1983, asserts a claim against Clackamas County relating to failure to

     discipline its employees and deliberate indifference. Id. ¶¶ 157-162. The First and Third Claims

     do not implicate any State Defendant.

     IV.      Plaintiff’s Second and Fifth Claims Should Be Dismissed.
              In his Second Cause of Action (“Second Claim”), also under 42 U.S.C. § 1983, plaintiff

     alleges “Supervisory Liability” against the “Supervising Defendants.” Id. ¶¶ 150-156. The

     “Supervising Defendants” are a group of State and County defendants who were “indirectly

     involved.” Id. ¶ 18. That includes Judges Herndon, Rastetter, and Jones, Debbie Spradley, the

     “Clackamas County Trial Administrator,” Katy Coba, the Director of the Oregon Department of

     Administrative Services, former Clackamas County District Attorney John S. Foote, former

     Clackamas County Deputy District Attorney Christopher Heywood, and the Oregon

     “Department of Public Safety Systems [sic, “Standards”] and Training.” Id. ¶ 18. The

     remaining Supervising Defendants are either County or private actors.

              The Fourth Amended Complaint contains no Fourth Cause of Action.

              In his “Fifth Cause of Action” (“Fifth Claim”), plaintiff alleges, again under 42 U.S.C.

     § 1983, a claim for “ratification” against Clackamas County and against the State of Oregon. Id.

     ¶¶ 163-167.



Page 6 -    STATE DEFENDANTS' MOTION TO DISMISS PLAINTIFF'S FOURTH AMENDED
            COMPLAINT
            43119442                                 Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
               Case 3:19-cv-01051-SI        Document 52              Filed 08/06/21   Page 7 of 12




             The State Defendants respectfully move the Court to dismiss the Second and the Fifth

     Claims as against them, and then to dismiss the State Defendants entirely from this action.

             A.       Plaintiff’s Second Claim fails because it is barred by absolute judicial and
                      prosecutorial immunity and otherwise fails to state a valid claim for relief.

                      1.     Defendants Herndon, Rastetter, and Jones enjoy absolute judicial
                             immunity.
             Few doctrines were more solidly established at common law than the immunity of judges

     from liability for damages for acts committed within their judicial jurisdiction.” Pierson v. Ray,

     386 U.S. 547, 553–54 (1967). This “immunity is overcome in only two sets of circumstances.
     First, a judge is not immune from liability for nonjudicial actions, i.e., actions not taken in the

     judge's judicial capacity. Second, a judge is not immune for actions, though judicial in nature,

     taken in the complete absence of all jurisdiction.” Mireles v. Waco, 502 U.S. 9, 11–12 (1991)

     (citations omitted). As long a judge has jurisdiction to perform the “general act” in question, the

     judge is “immune however erroneous the act may have been, however injurious in its

     consequences it may have proved to the plaintiff, and irrespective of the judge's

     motivation. Harvey v. Waldron, 210 F.3d 1008, 1012 (9th Cir. 2000) (internal citations and

     quotations omitted), overruled on other grounds, Wallace v. Kato, 549 U.S. 384 (2007).

             Here, plaintiff’s allegations show that Judges Herndon, Rastetter, and Jones were acting

     in their judicial capacities and within the bounds of their jurisdiction. Judge Herndon convicted

     plaintiff of a crime and Judge Rastetter held plaintiff in contempt of court. FAC ¶¶ 77, 80.

     Judge Jones issued a warrant for plaintiff’s arrest or ordered him to be taken into custody during

     an arraignment. Id. ¶¶ 90-91, 96, 126-127. Convicting individuals of crimes, holding litigants in

     contempt of court, and issuing warrants and authorizing individuals to be taken into custody

     during arraignment proceedings are all acts within the judicial function and within the

     jurisdiction of these judges. Plaintiff’s allegations of conspiracy by these judges do not change

     that. Stump v. Sparkman, 435 U.S. 349, 354, 358 (1978) (noting that allegations of a conspiracy

     between a judge and private citizens to subject minor child to sterilization did not overcome

Page 7 -   STATE DEFENDANTS' MOTION TO DISMISS PLAINTIFF'S FOURTH AMENDED
           COMPLAINT
           43119442                                  Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
               Case 3:19-cv-01051-SI         Document 52             Filed 08/06/21   Page 8 of 12




     judicial immunity where the law authorized judge to rule on petitions to sterilize minors). The

     defendant judges enjoy absolute judicial immunity. All claims against them should be dismissed

     with prejudice, and they should be dismissed from this action.

                      2.     Defendant Spradley should be dismissed from this action based on her
                             quasi-judicial immunity and plaintiff’s failure to state any claims
                             against her.
             Defendant Spradley enjoys quasi-judicial immunity from plaintiff’s claims. “Court

     clerks have absolute quasi-judicial immunity from damages for civil rights violations when they

     perform tasks that are an integral part of the judicial process.” Mullis v. U.S. Bankruptcy Court
     for Dist. of Nev., 828 F.2d 1385, 1390 (9th Cir. 1987) (holding that clerk of the court had quasi-

     judicial immunity for accepting and filing an incomplete bankruptcy petition, refusing to accept

     an amended petition, and failing to provide proper notice). Here, Spradley is the trial court

     administrator at the Clackamas County Circuit Court. To the extent plaintiff objects to

     Spradley’s involvement in processing paperwork regarding plaintiff’s criminal proceedings,

     warrants for his arrest, or other such matters that are integral to the judicial process, Spradley is

     entitled to immunity.

             To the extent that plaintiff’s grievances stem from the alleged conspiracy, plaintiff fails to

     state specific facts supporting a plausible inference of liability on any of plaintiff’s claims.

     Twombly, 550 U.S. at 570. Plaintiff alleges that Spradley conspired with the judges to arrest

     plaintiff because, in plaintiff’s view, the “kidnappings and beating were done for a profit, and

     Debbei [sic] Spradley handles the bookkeeping.” FAC ¶ 120. An allegation that a trial court

     clerk would be motivated to arrest someone for profit because that clerk is in charge of the

     “bookkeeping” is not an allegation that supports a plausible inference of an unlawful conspiracy.

     Otherwise, plaintiff alleges no action by Spradley other than refusing to show plaintiff the books

     and accounts of the court. Id. ¶ 120. That is not a violation of plaintiff’s constitutional rights.

     Accordingly, plaintiff fails to state a claim against Spradley.



Page 8 -   STATE DEFENDANTS' MOTION TO DISMISS PLAINTIFF'S FOURTH AMENDED
           COMPLAINT
           43119442                                  Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
               Case 3:19-cv-01051-SI         Document 52             Filed 08/06/21   Page 9 of 12



                      3.     Defendants Foote and Heywood should be dismissed from this action
                             based on their prosecutorial immunity and plaintiff’s failure to state
                             any claims against them.
             Former District Attorney Foote and Former Deputy District Attorney Heywood are also

     named as “Supervising Defendants.” Id. ¶ 18. Other than describing their capacities as

     prosecutors, plaintiff fails to identify a single action taken by either of them, and for that reason

     alone plaintiff fails to state a claim against either of them. Plaintiff alleges that “all defendants”

     conspired to beat and arrest him, but that is nothing more than a legal conclusion couched as a

     factual allegation, which is not entitled to the presumption of truth. Iqbal, 556 U.S. at 678. And

     to the extent that plaintiff seeks to hold them liable for any action they took in their prosecutorial
     functions, they are entitled to absolute prosecutorial immunity. Imbler v. Pachtman, 424 U.S.

     409, 430 (1976) (holding that prosecutor’s activities intimately associated with the judicial phase

     of the criminal process were entitled to immunity).

                      4.     Plaintiff’s Second Claim fails to allege specific facts against any of the
                             remaining State Defendants sufficient to state a claim.
             The only remaining State Defendants within the group of “Supervising Defendants,”

     against whom the Second Claim runs, are Katy Coba, the Director of the Oregon Department of

     Administrative Services, and the Department of Public Safety Standards and Training

     (“DPSST”). FAC ¶ 18. Plaintiff fails to allege a single fact about either of them. Accordingly,

     plaintiff fails to state a claim against them, and they should be dismissed from this action.

             B.       Plaintiff’s Fifth Claim fails because 42 U.S.C. § 1983 claims cannot be
                      maintained against states.
             Plaintiff’s Fifth Claim is a claim under 42 U.S.C. § 1983 for “ratification” against

     Clackamas County and the State of Oregon. Liability under § 1983 may be established under a

     “ratification” theory, whereby a plaintiff must demonstrate that “authorized policymakers

     approve[d] a subordinate’s decision and the basis for it.” Christie v. Iopa, 176 F.3d 1231, 1239

     (9th Cir. 1999). However, such liability extends only to municipalities or other “persons”

     because suits under § 1983 do not lie against states because states are not “persons” within the


Page 9 -   STATE DEFENDANTS' MOTION TO DISMISS PLAINTIFF'S FOURTH AMENDED
           COMPLAINT
           43119442                                  Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
             Case 3:19-cv-01051-SI         Document 52              Filed 08/06/21   Page 10 of 12




    meaning of § 1983. Will v. Michigan Dept. of State Police, 491 U.S. 58, 64-68 (1989). Further,

    section 1983 claims against state agencies that are considered “arms of the state” are deemed to

    run against the state itself, and thus will not lie. Id. at 71. Thus, even if plaintiff did allege

    specific facts, for example about the DPSST as in his Second Claim, that claim would not state a

    § 1983 claim against that agency, which is an arm of the State of Oregon, or the State itself.

            C.      The remaining State Defendants should be dismissed from this action
                    entirely because plaintiff does not allege specific facts about them.
            The remaining two State Defendants are also entitled to dismissal. The first is Governor

    Kate Brown. Plaintiff fails to plead any facts about the role Governor Brown allegedly played in
    the relevant events. Governor Brown cannot be held liable on a respondeat superior theory of

    liability. Monell, 436 U.S. at 694. She should be dismissed from this action.

            The second is Shelley Hoffman. Hoffman works for the Oregon Department of

    Administrative Services, Risk Management. Plaintiff again fails to plead any fact about

    Hoffman, and she should also be dismissed from this action.

            Plaintiff also identifies Samantha Olson in the caption as a “respondent” rather than a

    defendant. On the date of plaintiff’s courtroom arrest, Olson, who is now a Jackson County

    Deputy District Attorney, was a certified law clerk working for the Clackamas County District

    Attorney. The intended distinction between “respondent” and “defendant” is not clear, but

    plaintiff seems to have no quarrel with Olson, noting with apparent approval that when Olson

    saw the video of the incident, she “refused to proceed.” FAC ¶ 113. To the extent that Olson is

    deemed to be a defendant, she is a “State Defendant” and she joins this motion. Plaintiff alleges

    nothing else about Olson’s actions, and thus fails to state a claim against her. Further, Olson

    would be entitled to prosecutorial immunity in any event.

    V.      Plaintiff’s attempt to incorporate his previous pleadings by reference into the
            Fourth Amended Complaint should be rejected.
            As a final housekeeping matter, plaintiff states “The (Draft) Third Amended Complaint,

    which is already in the record, and which has already been served on all parties, is hereby

Page 10 - STATE DEFENDANTS' MOTION TO DISMISS PLAINTIFF'S FOURTH AMENDED
         COMPLAINT
         43119442                                    Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
             Case 3:19-cv-01051-SI        Document 52              Filed 08/06/21   Page 11 of 12




    incorporated by reference as if fully set forth here, does anyone disagree?” FAC ¶ 192. State

    Defendants disagree. The general rule is that an amended complaint supersedes all previous

    complaints and renders them without legal effect. See Lacey v. Maricopa Cnty., 693 F.3d 896,

    927 (9th Cir. 2012). If the “(Draft) Third Amended Complaint” has some legal significance

    other than as a pleading instrument, plaintiff may submit it as an exhibit and adopt it by reference

    under Fed. R. Civ. P. 10(c). However, plaintiff cannot simply use that now-superseded amended

    complaint for the purpose of stating claims. He must set forth all relevant facts and causes of

    action in his Fourth Amended Complaint. Accordingly, the Court should not consider any of
    plaintiff’s prior pleadings in resolving this motion.

    VI.     Conclusion
            For the reasons set forth above, the State Defendants respectfully request the Court grant

    their Motion to Dismiss.

            DATED August 6 , 2021.

                                                          Respectfully submitted,

                                                          ELLEN F. ROSENBLUM
                                                          Attorney General



                                                              s/ Jesse B. Davis
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Page 11 - STATE DEFENDANTS' MOTION TO DISMISS PLAINTIFF'S FOURTH AMENDED
          COMPLAINT
          43119442                                  Department of Justice
                                                   100 SW Market Street
                                                     Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000
              Case 3:19-cv-01051-SI      Document 52             Filed 08/06/21   Page 12 of 12




                                    CERTIFICATE OF SERVICE

             I certify that on August 6 , 2021, I served the foregoing STATE DEFENDANTS'

     MOTION TO DISMISS PLAINTIFF'S FOURTH AMENDED COMPLAINT upon the parties

     hereto by the method indicated below, and addressed to the following:

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                                                        Shelley Hoffman, Katy Coba,
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                                                        Thomas J. Rastetter, Debbie Spradley,
                                                        John S. Foote, Christopher K. Haywood,
                                                        Samantha Olson, Department of Public Safety
                                                        Systems and Training, and All Clerks of
                                                        Clackamas County Court and their Associates




Page 1 -   CERTIFICATE OF SERVICE
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